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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DENA NATOUR FOR MINOR, HADI                     )
 ABUATELAH,                                      )
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       )
                                                 ) Case No. 22-cv-03998
 CHIEF OF OAK LAWN POLICE, DANIEL                )
 VITTORIO, OFFICER B. COLLINS,                   ) Judge Steven C. Seeger
 OFFICER P. O’DONNELL, OFFICER M.                )
 HOLLINGSWORTH, and THE VILLAGE                  )
 OF OAK LAWN,                                    )
                                                 )
        Defendants.                              )


    DEFENDANTS, VILLAGE OF OAK LAWN AND CHIEF OF POLICE, DANIEL
    VITTORIO’S REPLY MEMORANUM IN SUPPORT OF A MOTION TO STAY


       NOW COME the Defendants, the Village of Oak Lawn (the “Village”) and Chief of Police,

Daniel Vittorio, by and through their attorneys, Peterson, Johnson & Murray LLC, for its Reply

Memorandum in Support of Motion to Stay, states as follows:

                                           Discussion

       The Village and Chief Vittorio join Defendants, Officer O’Donnell, Officer B. Collins, and

Officer M. Hollingsworth Motion to Stay and also requests a stay as to any further proceedings in

this case. Where a stay is appropriate for a defendant officers, a stay is also appropriate as to a

defendant municipality. See Chagolla v. City of Chicago, 529 F. Supp. 2d 945, 948 (N.D. Ill.

2008). Plaintiff responded to the Motions by acknowledging the Village’s motion in a footnote

and proceeded to address the substance of the Officer’s Motion. (See, Dkt. #15, Plaintiff’s

Response in Opposition to Defendants’ Motion to Stay). In taking this approach, Plaintiff does not


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dispute that while a municipality has no Fifth Amendment privilege, courts have recognized that

where a stay has been granted to individual defendants, a defendant municipality would be in an

unfair position if it, likewise, did not receive a stay. Chagolla, 529 F. Supp. 2d at 948.

       Here, the Village and Chief Vittorio’s ability to defend itself would be impaired if the case

was not stayed. The claims against the Village and that of Chief Vittorio in the Second Amended

Complaint are inextricably linked to the claims against the individual Defendant Officers. The

Defendant Officers’ participation in the case is critical to the Village and Chief Vittorio’s ability

to defend themselves. Because a stay is appropriate as to defendant officers (See, Dkt. #s 29, 33),

the Court should also stay the case as to the Village and Chief Vittorio.

       WHEREFORE, the Village of Oak Lawn and its Chief of Police, Daniel Vittorio, requests

that this Court grant the instant motion and stay these proceedings and grant any other relief

deemed appropriate.

                                               Respectfully submitted,

                                               THE VILLAGE OF OAK LAWN and CHIEF OF
                                               POLICE DANIEL VITTORIO

                                               /s/Kevin M. Casey
                                               Kevin M. Casey
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                             CERTIFICATE OF SERVICE
     I hereby certify that on November 30, 2022, I electronically filed DEFENDANTS’ REPLY
MEMORANDUM IN SUPPORT OF MOTION TO STAY with the Clerk of the Court using the
CM/ECF system who will notify all registered CM/ECF participants.

                                         /s/ Kevin M. Casey




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